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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


TYLER WESLEY,                                                 )
                                                              )
                              Plaintiff,                      )
                                                              )    CIVIL ACTION
vs.                                                           )
                                                              )    Case No. 1:24-CV-01942
MAC MANAGEMENT NORTHGLENN LLC,                                )
                                                              )
                              Defendant.                      )


                                            COMPLAINT

       COMES NOW, TYLER WESLEY, by and through the undersigned counsel, and files

this, his Complaint against Defendant, MAC MANAGEMENT NORTHGLENN LLC, pursuant

to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).            In support thereof, Plaintiff

respectfully shows this Court as follows:

                                           JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

MAC MANAGEMENT NORTHGLENN LLC, failure to remove physical barriers to access and

violations of Title III of the ADA.

                                             PARTIES

       2.      Plaintiff TYLER WESLEY (hereinafter “Plaintiff”) is and has been at all times

relevant to the instant matter, a natural person residing in Thornton, CO (Adams County).

       3.      Plaintiff is disabled as defined by the ADA.




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       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

       5.      Plaintiff uses a wheelchair for mobility purposes.

       6.      In addition to being a customer of the public accommodation on the Property,

Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

ensuring whether places of public accommodation are in compliance with the ADA. His

motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

access identified in this Complaint are removed in order to strengthen the already existing

standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

numerous ADA violations on this property. (“Advocacy Purposes”).

       7.      Defendant, MAC MANAGEMENT NORTHGLENN LLC (hereinafter “MAC

MANAGEMENT NORTHGLENN LLC”) is a domestic limited liability company that transacts

business in the State of Colorado and within this judicial district.

       8.      Defendant, MAC MANAGEMENT NORTHGLENN LLC, may be properly

served with process via its Registered Agent for service, to wit: c/o MAC Management LLC,

Registered Agent, 3685 E. 121st Avenue, Thornton, CO 80241.

                                  FACTUAL ALLEGATIONS

       9.      On or about July 9, 2024, Plaintiff was a customer at “Saigon Basil,” a restaurant

located at 10665 Melody Drive, Northglenn, CO 80234, referenced herein as “Saigon Basil”.



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See Receipt attached as Exhibit 1. See also photo of Plaintiff attached as Exhibit 2.

       10.     Defendant, MAC MANAGEMENT NORTHGLENN LLC, is the owner or co-

owner of the real property and improvements that Saigon Basil is situated upon and that is the

subject of this action, referenced herein as the “Property.”

       11.     Defendant, MAC MANAGEMENT NORTHGLENN LLC, is responsible for

complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, MAC MANAGEMENT NORTHGLENN LLC, and

a tenant allocating responsibilities for ADA compliance within the unit the tenant operates, that

lease is only between the property owner and the tenant and does not abrogate the Defendant’s

requirement to comply with the ADA for the entire Property it owns, including the interior

portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

       12.     Plaintiff’s access to the Saigon Basil, located at 10665 Melody Drive, Northglenn,

CO      80234, Adams County Property Appraiser’s property identification numbers:

0171910304005, 0171910304006 and 0171910304007 (“the Property”), and/or full and equal

enjoyment of the goods, services, foods, drinks, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his disabilities, and he

will be denied and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Property, including

those set forth in this Complaint.

       13.     Plaintiff lives only 3 miles from the Property.

       14.     Given the close vicinity of the Property to the Plaintiff’s residence, Plaintiff often

travels by the Property.




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       15.     Plaintiff has visited the Property at least a dozen times before as a customer and

advocate for the disabled. Plaintiff intends to revisit the Property within six months after the

barriers to access detailed in this Complaint are removed and the Property is accessible again.

The purpose of the revisit is to be a return customer to Saigon Basil, be a new customer of

Carmen Kitchen, to determine if and when the Property is made accessible and to substantiate

already existing standing for this lawsuit for Advocacy Purposes.

       16.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer as well as for Advocacy Purposes but does not intend to re-expose himself to the

ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

known to Plaintiff to have numerous and continuing barriers to access.

       17.     Plaintiff travelled to the Property as a customer at least a dozen times before as a

customer, personally encountered many barriers to access the Property that are detailed in this

Complaint, engaged many barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury if all the illegal barriers to access present at the Property identified in

this Complaint are not removed.

       18.     Although Plaintiff may not have personally encountered each and every barrier to

access identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior

to filing the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the Complaint in a subsequent visit as,

for example, one accessible parking space may not be available and he would need to use an

alternative accessible parking space in the future on his subsequent visit. As such, all barriers to



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access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury.

       19.     Plaintiff’s inability to fully access the Property and the stores in a safe manner and

in a manner which inhibits the free and equal enjoyment of the goods and services offered at the

Property, both now and into the foreseeable future, constitutes an injury in fact as recognized by

Congress and is historically viewed by Federal Courts as an injury in fact.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       20.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       21.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is


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               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       22.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       23.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       24.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       25.     The Property is a public accommodation and service establishment.

       26.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       27.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).



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       28.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       29.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       30.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of his disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit his access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

       31.     Defendant, MAC MANAGEMENT NORTHGLENN LLC, has discriminated

against Plaintiff (and others with disabilities) by denying his access to, and full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations of the

Property, as prohibited by, and by failing to remove architectural barriers as required by, 42

U.S.C. § 12182(b)(2)(A)(iv).

       32.     Defendant, MAC MANAGEMENT NORTHGLENN LLC, will continue to

discriminate against Plaintiff and others with disabilities unless and until Defendant, MAC



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MANAGEMENT NORTHGLENN LLC, is compelled to remove all physical barriers that exist

at the Property, including those specifically set forth herein, and make the Property accessible to

and usable by Plaintiff and other persons with disabilities.

       33.         A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

               i.     In front of Unit 10673, one of the two accessible parking spaces is missing an

                      identification sign in violation of Section 502.6 of the 2010 ADAAG

                      standards. This barrier to access would make it difficult for Plaintiff to locate

                      an accessible parking space.

              ii.     In front of Unit 10673, due to the presence of a column, the landing at the top

                      of the curb accessible ramp does not have a clear landing in violation of

                      Section 406.4 of the 2010 ADAAG standards. This barrier to access would

                      make it difficult and dangerous for Plaintiff to access the Property.

             iii.     In front of Saigon Basil, the accessible parking space is missing an

                      identification sign in violation of Section 502.6 of the 2010 ADAAG

                      standards. This barrier to access would make it difficult for Plaintiff to locate

                      an accessible parking space.

             iv.      In front of Saigon Basil, the access aisle to the accessible parking space is not

                      level due to the presence of an accessible ramp in the access aisle in violation

                      of Section 502.4 of the 2010 ADAAG standards. This barrier to access would



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                 make it dangerous and difficult for Plaintiff to exit and enter their vehicle

                 while parked at the Property as the lift from the van may rest upon the ramp

                 and create an unlevel surface.

           v.    In front of Saigon Basil, the accessible curb ramp is improperly protruding

                 into the access aisle of the accessible parking space in violation of Section

                 406.5 of the 2010 ADAAG Standards. This barrier to access would make it

                 dangerous and difficult for Plaintiff to exit and enter their vehicle while

                 parked at the Property as the lift from the van may rest upon the ramp and

                 create an unlevel surface.

          vi.    In front of Saigon Basil, the accessible ramp side flares have a slope in excess

                 of 1:10 in violation of Section 406.3 of the 2010 ADAAG standards. This

                 barrier to access would make it dangerous and difficult for Plaintiff to access

                 the units of the Property because steep slopes on ramp side flares could cause

                 the wheelchair to tip over and injure Plaintiff.

         vii.    In between Saigon Basil and Key Nail Supply, due to the presence of columns

                 and a policy of parking a forklift in the accessible route, there are publicly

                 accessible areas of the Property having accessible routes with clear widths

                 below the minimum 36 (thirty-six) inch requirement as required by Section

                 403.5.1 of the 2010 ADAAG standards. This barrier to access would make it

                 difficult for Plaintiff to access the rest of the units of the Property as Plaintiff’s

                 wheelchair would not be able to get past this barrier.

         viii.   In between Saigon Basil and Key Nail Supply, due to the presence of columns

                 and a policy of parking a forklift in the accessible route, the Property lacks an



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                 accessible route connecting accessible facilities, accessible elements and/or

                 accessible spaces of the Property in violation of Section 206.2.2 of the 2010

                 ADAAG standards. This barrier to access would make it difficult for Plaintiff

                 to access public features of the Property.

          ix.    In front of Unit 10663, the accessible parking space is missing an

                 identification sign in violation of Section 502.6 of the 2010 ADAAG

                 standards. This barrier to access would make it difficult for Plaintiff to locate

                 an accessible parking space.

           x.    In front of Unit 10663, due to a policy or parking a forklift in the accessible

                 route, the Property lacks an accessible route from the accessible parking space

                 to the accessible entrance of the Property in violation of Section 208.3.1 of the

                 2010 ADAAG standards. This barrier to access would make it difficult for

                 Plaintiff to access the units of the Property.

          xi.    In front of Unit 10663, the accessible parking space does not have a marked

                 access aisle in violation of Section 502.3.3 of the 2010 ADAAG standards.

                 This barrier to access makes it nearly impossible for an individual in a

                 wheelchair to enter and exit their vehicle at this accessible parking space due

                 to the close presence of parked vehicles on either side of the accessible

                 parking space not providing enough room for the wheelchair, this eliminates

                 the accessible route from this accessible parking space.

          xii.   In front of Unit 10663, due to the lack of an access aisle, when a vehicle is

                 parked in the accessible parking space and there are cars parked on either side

                 of the accessible parking space, there lacks adequate space for Plaintiff to



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                 enter and exit their vehicle. As a result, the Property lacks an accessible route

                 from this accessible parking space to the accessible entrance of the Property in

                 violation of Section 208.3.1 of the 2010 ADAAG standards. This barrier to

                 access would make it difficult for Plaintiff to access the units of the Property.

         xiii.   In front of Unit 10657, the accessible parking space is missing an

                 identification sign in violation of Section 502.6 of the 2010 ADAAG

                 standards. This barrier to access would make it difficult for Plaintiff to locate

                 an accessible parking space.

         xiv.    In front of Unit 10657, due to a failure to enact a policy of proper parking lot

                 maintenance, the ground surfaces of the accessible space and associated

                 access aisle has vertical rises in excess of ¼ (one quarter) inch in height, are

                 not stable or slip resistant, have broken or unstable surfaces or otherwise fail

                 to comply with Sections 502.4, 302 and 303 of the 2010 ADAAG standards.

                 This barrier to access would make it dangerous and difficult for Plaintiff to

                 access the units of the Property.

          xv.    Across the vehicular way from Unit 10639, the two accessible parking spaces

                 and associated access aisle have a running slope in excess of 1:48 in violation

                 of Section 502.4 of the 2010 ADAAG standards and are not level. This barrier

                 to access would make it dangerous and difficult for Plaintiff to exit and enter

                 their vehicle while parked at the Property as Plaintiff’s wheelchair may roll

                 down the slope while entering or exiting the vehicle.

         xvi.    In front of Unit 10639, the accessible curb ramp projects into vehicular traffic

                 lanes and is not wholly located within marked crossings in violation of section



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                 406.5 of the 2010 ADAAG Standards.             This barrier to access makes it

                 dangerous for Plaintiff to utilize this accessible curb ramp as ramps are sites

                 of increased likelihood of the wheelchair tipping over, but when it occurs in a

                 vehicular traffic lane, as it is here, the chances of being run over by a passing

                 car significantly increases.

         xvii.   In front of Unit 10639, the Property has an accessible ramp leading from the

                 accessible parking spaces to the accessible entrances with a slope exceeding

                 1:12 in violation of Section 405.2 of the 2010 ADAAG standards. This barrier

                 to access would make it dangerous and difficult for Plaintiff to access the

                 units of the Property because when ramps are too steep (more than 1:12) it

                 requires too much physical arm strain to wheel up the ramp and increases the

                 likelihood of the wheelchair falling backwards and Plaintiff being injured.

        xviii.   In front of Unit 10639, the accessible ramp side flares have a slope in excess

                 of 1:10 in violation of Section 406.3 of the 2010 ADAAG standards. This

                 barrier to access would make it dangerous and difficult for Plaintiff to access

                 the units of the Property because steep slopes on ramp side flares could cause

                 the wheelchair to tip over and injure Plaintiff.

         xix.    Across the vehicular way from Unit 10639, the two accessible parking spaces

                 are missing identification signs in violation of Section 502.6 of the 2010

                 ADAAG standards. This barrier to access would make it difficult for Plaintiff

                 to locate an accessible parking space.

          xx.    Across the vehicular way from Dollar Tree, the four accessible parking spaces

                 are missing identification signs in violation of Section 502.6 of the 2010



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                 ADAAG standards. This barrier to access would make it difficult for Plaintiff

                 to locate an accessible parking space.

         xxi.    Defendant fails to adhere to a policy, practice and procedure to ensure that all

                 facilities are readily accessible to and usable by disabled individuals.

 SAIGON BASIL RESTROOMS

         xxii.   The restroom lacks signage in compliance with Sections 216.8 and 703 of the

                 2010 ADAAG standards. This barrier to access would make it difficult for

                 Plaintiff and/or any disabled individual to locate accessible restroom facilities.

        xxiii.   The door to the restrooms has a maximum clear width below 32 (thirty-two)

                 inches in violation of Section 404.2.3 of the 2010 ADAAG standards. This

                 barrier to access would make it difficult for Plaintiff and/or any disabled

                 individual to safely utilize the restroom facilities as wheelchair typically has a

                 clear width of between 30 and 32 inches and the wheelchair will not be able to

                 fit through the doorway to access the restroom. In the case that the wheelchair

                 may barely fit through, the tight doorway would likely injure Plaintiff’s hands

                 as they could get caught between the wheel and the doorway.

        xxiv.    The accessible toilet stall door has a maximum clear width below 32 (thirty-

                 two) inches, is too narrow and violates Section 604.8.1.2 of the 2010 ADAAG

                 standards. This barrier to access would make it difficult for Plaintiff and/or

                 any disabled individual to safely utilize the restroom facilities as wheelchair

                 typically has a clear width of between 30 and 32 inches and the wheelchair

                 will not be able to fit through the doorway to access the restroom. In the case

                 that the wheelchair may barely fit through, the tight doorway would likely



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                 injure Plaintiff’s hands as they could get caught between the wheel and the

                 doorway.

         xxv.    The accessible toilet stall door is not self-closing and violates Section

                 604.8.1.2 of the 2010 ADAAG standards. This barrier to access would make it

                 difficult for the Plaintiff and/or any disabled individual to safely and privately

                 utilize the restroom facilities.

        xxvi.    For both restroom stalls, the grab bars adjacent to the commode are not in

                 compliance with Section 604.5 of the 2010 ADAAG standards as the rear bar

                 is missing. This barrier to access would make it difficult for Plaintiff and/or

                 any disabled individual to safely transfer from the wheelchair to the toilet and

                 back to the wheelchair.

        xxvii.   For both restroom stalls, the size of the restroom stall is smaller than 60-

                 inches in width and/or 56-inches in depth. As a result, the restroom lacks a

                 toilet compartment compliant with Section 604.8.1 due to the lack of adequate

                 size. This barrier to access would make it difficult for Plaintiff and/or any

                 disabled individual to safely utilize the restroom facilities.

       xxviii.   The lavatories and/or sinks in the restrooms have exposed pipes and surfaces

                 and are not insulated or configured to protect against contact in violation of

                 Section 606.5 of the 2010 ADAAG standards. This barrier to access would

                 make it difficult for Plaintiff and/or any disabled individual to safely utilize

                 the sink as the pipes underneath the sink typically have sharp surfaces and/or

                 hot pipes, and since individuals in wheelchairs use a sink while seated, their

                 legs are particularly vulnerable to these threats.



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       34.       The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       35.       Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       36.       The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       37.       All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.

       38.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       39.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, MAC

MANAGEMENT NORTHGLENN LLC, has the financial resources to make the necessary.

       40.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable. According to the Denver

County Property Appraiser’s Office the Property is collectively valued at $8,775,201.00

       41.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

modifications.

       42.       Upon information and good faith belief, the Property has been altered since 2010.



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          43.   In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

          44.   Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

MAC MANAGEMENT NORTHGLENN LLC, is required to remove the physical barriers,

dangerous conditions and ADA violations that exist at the Property, including those alleged

herein.

          45.   Plaintiff’s requested relief serves the public interest.

          46.   The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, MAC MANAGEMENT NORTHGLENN LLC.

          47.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, MAC MANAGEMENT NORTHGLENN LLC, pursuant to 42 U.S.C.

§§ 12188 and 12205.

          48.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, MAC

MANAGEMENT NORTHGLENN LLC, to modify the Property to the extent required by the

ADA.

                WHEREFORE, Plaintiff prays as follows:

          (a)   That the Court find Defendant, MAC MANAGEMENT NORTHGLENN LLC, in

                violation of the ADA and ADAAG;

          (b)   That the Court issue a permanent injunction enjoining Defendant, MAC

                MANAGEMENT NORTHGLENN LLC, from continuing their discriminatory



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            practices;

      (c)   That the Court issue an Order requiring Defendant, MAC MANAGEMENT

            NORTHGLENN LLC, to (i) remove the physical barriers to access and (ii) alter

            the subject Property to make it readily accessible to and useable by individuals

            with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

            and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable in light of the

            circumstances.

                                          Dated: July 13, 2024.

                                          Respectfully submitted,

                                          Law Offices of
                                          THE SCHAPIRO LAW GROUP, P.L.

                                          /s/ Douglas S. Schapiro
                                          Douglas S. Schapiro, Esq.
                                          State Bar No. 54538FL
                                          The Schapiro Law Group, P.L.
                                          7301-A W. Palmetto Park Rd., #100A
                                          Boca Raton, FL 33433
                                          Tel: (561) 807-7388
                                          Email: schapiro@schapirolawgroup.com


                                          ATTORNEYS FOR PLAINTIFF




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